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                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF VIRGINIA
                                     Norfolk Division


  DREAM KITCHEN AND BATH
  SHOP,LLC,

          Plaintiff,                                     Civil Action No.: 2:22-cv-184
  V.



  KITCHEN AND BATH SHOP,LLC
  etal,y

          Defendants.

                                          CONSENT ORDER


          Plaintiff, Dream Kitchen and Bath Shop, LLC, and Defendants Kitchen and Bath Shop,

  LLC and Panah Ibrahimov ("Defendants"), have stipulated and agreed, and have asked to Court

  to enter this order reflecting their agreement, as set forth herein.

          Upon consideration ofthe parties' stipulation and request, and it appearing proper to do so,

  it is on this 22nd day of August, 2022, it is hereby ORDERED,that:

          1.      Defendants Kitchen and Bath Shop, LLC and Panah Ibrahimov shall have to and

  including September 9,2022, to file pleadings in response to the Complaint.

          2.      The appearance of counsel for Defendants as reflected on this consent order

  eliminates the need for Plaintiffto serve formal process on Kitchen and Bath Shop,LLC or Panah

  Ibrahimov, and any irregularities in process already served on these Defendants is waived.

                                   ^!i                      Douglas  E.
                                                            United States Magistrate Judge
                                                         Douglas E. Miller,
                                                         United States Magistrate Judge
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  WE ASK FOR THIS:



  /s/Duncan G. Bvers- with permission
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  Counselfor Defendants Kitchen and Bath Shop
  LLC and Panah Ibrahimov
